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                                                         Exhibit A to the Complaint
Location: Austin, TX                                                                                 IP Address: 23.127.77.96
Total Works Infringed: 27                                                                            ISP: AT&T U-verse
 Work      Hashes                                                               UTC          Site           Published     Registered   Registration
 1         Info Hash: 34F1BD82F61B7AECAE65BF2B8BB5E672153A337B                      01-16-   Blacked        01-14-2023    01-27-2023   PA0002393084
           File Hash:                                                                 2023   Raw
           BC9AB74CD3A013607619CAA80E09F47939A9064E7343B80E6B32CCE0D9D3B328       17:24:43
 2         Info Hash: DE4BFD9981AE2FA924ADF2D0ADDA49B0C5C375E3                      12-19-   Blacked        12-17-2022    01-10-2023   PA0002389619
           File Hash:                                                                 2022
           E4A369D47950EE33662F9F45B1B821BD525AE5E2EA32DF82EC51289A45FC48FE       21:17:12
 3         Info Hash: 424E25F5F6CFD14F9BD8C913A91508F40C54F7F0                      12-07-   Blacked        12-05-2022    01-10-2023   PA0002389624
           File Hash:                                                                 2022   Raw
           2E4F0C2871623C3408F8F710AC2F53E0F68E8E398E0D53798092ACC7C9F1BFA4       20:13:50
 4         Info Hash: F6258E0BEBA58E3EB038EA41D51919ED7AE101BF                      11-28-   Tushy          11-20-2022    12-11-2022   PA0002384715
           File Hash:                                                                 2022
           B2F1872CD8202F3FAF7BDB3FF46F33698315112D32C4C7D83EC78A205C4DABDC       18:35:34
 5         Info Hash: 5C1D84B8EE66AA95473A12F7D5A7612D9B4D375C                      11-06-   Vixen          11-04-2022    12-11-2022   PA0002384755
           File Hash:                                                                 2022
           4C5E775EEBDE716DA30F22E2C79DB0F8FC6CB1A39E29CBCB5B49EAF97FBB323A       20:21:07
 6         Info Hash: 814484C23BB60ED37930F523355A7914A06C6B47                      11-02-   Vixen          07-23-2017    08-10-2017   PA0002046877
           File Hash:                                                                 2022
           FCFD911170183C1B07B17680628BF5E8E66B6496AB8E2432DFD77B60F486A3D2       22:40:20
 7         Info Hash: C50F90F5C52D0EF98AF8FCB8DFA605B3EA200FBF                      10-30-   Vixen          08-26-2022    10-05-2022   PA0002373767
           File Hash:                                                                 2022
           FF3BC0768BBFC3B19053BD8540A326DAB4EEB760022FD41C7323A95403E824D6       22:44:00
 8         Info Hash: C54512672AB83C2172E5AA6AA335CF2359A7F73A                      10-30-   Vixen          10-28-2022    12-11-2022   PA0002384773
           File Hash:                                                                 2022
           0D646A9B3E18B1E6E11CE6B043DE5954FBA5D7F9261E23C530E691CC978F3758       22:19:01
 9         Info Hash: 40C2E7E796AB9700C7722910C2D772D72077A39C                      10-29-   Blacked        10-26-2022    11-01-2022   PA0002378070
           File Hash:                                                                 2022   Raw
           CAD74A769FFAF5260B68E5260185FCE0455E0154F544BD93F021C542F6BD0491       18:01:19
 10        Info Hash: 3BA07A5A0626425EACAEC907C781A5E28FB2871E                      10-28-   Blacked        07-02-2022    07-22-2022   PA0002359461
           File Hash:                                                                 2022
           185BCC2603876AECECA7CEB4F73D04DAE6B398D5C7BEE77C5EAA6C8D28CD4F27       03:34:59
 11        Info Hash: 735819ADA24E184D8BDBA72736218DB712B594B0                      10-22-   Tushy          09-25-2022    10-05-2022   PA0002373771
           File Hash:                                                                 2022
           120692D63A55EFA9702C09891046468B18482696639B3F0C823F1C4E6239A9E7       17:32:57
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
12     Info Hash: 7C805125B9931DC9B881E6AA9A14003D9ADD72FB                   10-09-   Blacked   10-06-2022   11-01-2022   PA0002378072
       File Hash:                                                              2022   Raw
       C92F531F420CA4C3D2F37137720823E4C4F393E2199BEAEB86E88D16F74BCD03    00:04:07
13     Info Hash: 3BA0D3954BC406710F062C5979ECD9BF8A91237F                   10-06-   Blacked   10-01-2022   10-31-2022   PA0002377811
       File Hash:                                                              2022   Raw
       B63705671B499FF06D1B96A11375F61E4779F02BDD1B90F8F602397FB45E1F1E    20:23:22
14     Info Hash: B26FC12DD51771112C0FE5A31CF1B65C0C20A778                   09-26-   Blacked   09-17-2022   10-05-2022   PA0002373760
       File Hash:                                                              2022
       3C1A3A60EB53BB181EF24EB80CC6FF0C10C0E7D58A924506F089B6B27A57A289    19:53:52
15     Info Hash: 99887C9578C10A436D1B4E74B813254B62C017AC                   09-26-   Blacked   09-21-2022   10-05-2022   PA0002373950
       File Hash:                                                              2022   Raw
       B9118A03F3E33BEBD15047E049B61017266ADA636A464187A5A78BA840982388    19:50:21
16     Info Hash: 8A5A466398568BE5972C507767930D7F8F5B37AA                   09-11-   Blacked   11-01-2018   11-25-2018   PA0002136644
       File Hash:                                                              2022
       056528E87248DB8C9FC9DC64036527838117EFD5149DD075B706CAFA8F8D1FDF    21:34:39
17     Info Hash: 12E82E22123F4B517494486EA67E9933AF1E9A95                   08-31-   Blacked   08-27-2022   10-05-2022   PA0002373768
       File Hash:                                                              2022
       9E3D5E338000A79DA71BB31B5ADA7866B2AFF776E40CC5BEC76205896F517B84    16:25:33
18     Info Hash: 7BF563B4F703F30A3EA277ED404C6F7E8DC9BA49                   08-18-   Blacked   08-08-2022   08-30-2022   PA0002367749
       File Hash:                                                              2022   Raw
       82194F9E0BA7E53546EC8BDF80B7B7899ACA230C8F95826FB3E17AB10A5EBCBE    22:24:35
19     Info Hash: DA9611E9C7E846C569D5C06970789091CF2B3B44                   08-18-   Blacked   08-15-2022   08-29-2022   PA0002367735
       File Hash:                                                              2022   Raw
       D150538D71C52F360C335808651D9C366B117C599BC5659BCF12E09496EEA6CD    22:13:56
20     Info Hash: 3344C8CDFF9B33348E149E2D460B5D0E8B75DAAD                   08-10-   Vixen     08-05-2022   08-29-2022   PA0002367737
       File Hash:                                                              2022
       23CE6E0056F366425418B280EC88830ACA49AC1CD615D692EA984E455F913557    03:29:49
21     Info Hash: 97E745DBCA3A5ABB0C4DF155BF57BC99DB12CAC2                   07-12-   Blacked   07-09-2022   07-22-2022   PA0002359462
       File Hash:                                                              2022
       B91659FD65466E2815B3953087174BB6E3B5BC17921F9F1EFD17A5F646774951    19:15:40
22     Info Hash: 3C40112BBB34B6425E0BB15D1CC96F6577C75FE6                   04-29-   Blacked   12-03-2017   01-04-2018   PA0002097460
       File Hash:                                                              2022   Raw
       59087FC152B8797097A729011C15792EC27A22349456DF586B17473056754AB8    18:22:32
23     Info Hash: 9854BD9F9D15E6CAB0E441F29C3A939CECB90B01                   04-18-   Blacked   04-16-2022   04-23-2022   PA0002346424
       File Hash:                                                              2022
       9700672433356F8B1439FE7A6121D986D18E7106E4D26190A296C4EE36932BB0    16:04:05
                                Case 1:23-cv-00146-RP Document 1-1 Filed 02/10/23 Page 3 of 3

Work   Hashes                                                             UTC         Site      Published    Registered   Registration
24     Info Hash: B1EDE7608353AC629674C063D98C5805C47B0A54                   04-11-   Vixen     04-08-2022   05-20-2022   PA0002350388
       File Hash:                                                              2022
       CB024A1E7CEB51E3DD8A6EFAD07F79A295005892776D287284BA877AE6F1754E    01:09:17
25     Info Hash: B82C01991EEB4A25F31C65FF84CDC8CB1B253F59                   04-08-   Vixen     02-04-2022   02-14-2022   PA0002335462
       File Hash:                                                              2022
       CF5A358526923E89773249E53032E4B840AE51281850ABEE0268E3D4A18164A7    23:19:29
26     Info Hash: BE6E40F6DBD2FB3B34548943807FC91326B23F61                   04-06-   Vixen     04-19-2017   06-16-2017   PA0002069291
       File Hash:                                                              2022
       9C00884497673588500F0F20868BFA3CF90FFF0A3F6873C0C5BA1920753B9F8E    00:21:13
27     Info Hash: F1E8E40B9082FAE2F594FF8C66B57DE04CD2C1DB                   04-04-   Blacked   06-07-2021   06-15-2021   PA0002296926
       File Hash:                                                              2022   Raw
       A589853FE589838D31AFFDAEA90FDE0BE0A9010F94DA2DA8824EAC909D852127    03:42:34
